    Case 3:07-cr-00156-ADC       Document 262      Filed 11/14/07    Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO



 UNITED STATES OF AMERICA
      Plaintiff

        v.                                               Criminal No. 07-156 (ADC)

 DENNIS OMAR LOPEZ-PEREIRA (2),
     Defendant.


                   ORDER ADOPTING REPORT AND RECOMMENDATION

       Before the Court is an unopposed Report and Recommendation issued by Chief

Magistrate-Judge Justo Arenas on October 13, 2007. (Docket No. 238). In said Report and

Recommendation the Chief Magistrate-Judge recommends that: defendant Dennis Omar

López-Pereira be adjudged guilty of the offenses charged in Count I (21 U.S.C. §§ 841(a)(1)

and (b)(1)(A)(iii), 846 and 860 inasmuch as, his plea of guilty was intelligently, knowingly

and voluntarily entered.

       Neither party has filed objections to the Chief Magistrate-Judge’s Report and

Recommendation within the time frame provided by the Federal Rules of Criminal Procedure

and this Court’s Local Rules. See Fed. R. Crim. P. 11; 28 U.S.C. § 636(b)(1)(B); D.P.R. Local

Crim. R. 147(b).

       After reviewing the record, the Court agrees with the arguments, factual and legal

conclusions within the Report and Recommendation. Therefore, the Court hereby

APPROVES and ADOPTS the Chief Magistrate-Judge’s Report and Recommendation in its

entirety.
     Case 3:07-cr-00156-ADC      Document 262      Filed 11/14/07    Page 2 of 2



Criminal No.07-156 (ADC)                                                           Page -2-


       Accordingly, a judgment of conviction is to be entered as to Count I of the indictment

in the above-captioned case.

       The sentencing hearing is set for December 17, 2007 at 1:30 p.m.

       SO ORDERED.

       At San Juan, Puerto Rico, this 14th day of November, 2007.




                                                S/AIDA M. DELGADO-COLON
                                                United States District Judge
